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                                UNITED STATES BANKRUPTCY COURT
                                   DISTRICT OF NORTH DAKOTA


In re:
                Vortex Drain Tiling LLC,                                                  Chapter 7
                                                                                 Case No. 16-30672
                              Debtor.



                     MOTION TO APPEAR IN A PARTICULAR CASE PRO HAC VICE



                Matthew R. Burton of the Leonard, O’Brien, Spencer, Gale & Sayre, Ltd. hereby submits

this motion for permission to appear and participate in the above-entitled case, subject to this

Court’s approval of Trustee’s counsel under 11 U.S.C. §§ 327 and 328, and Bankruptcy Rule

2014, as counsel for Trustee Erik A. Ahlgren. The requesting attorneys note the following in

support of this application:

                1.     Matthew R. Burton is admitted to, and is a member in good standing in, the

following courts:

                       State of Minnesota
                       State of Iowa
                       United States District Court, District of Minnesota
                       Eighth Circuit Court of Appeals

                2.     Matthew R. Burton’s residence address is:

                       6228 Cascade Pass
                       Chanhassen, MN 55317

                3.     The applicant’s professional contact information is:

                       100 S. 5th St., Ste. 2500
                       Minneapolis, MN 55402
                       Telephone: (612) 332-1030
                       Facsimile: (612) 332-2740
                       Email: mburton@losgs.com



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        4.     Matthew R. Burton agrees to submit to the Local Rules and to the jurisdiction in

matters of discipline.

        WHEREFORE, Matthew R. Burton respectfully requests permission to appear and

participate in the above-entitled case as counsel for Erik A. Ahlgren, Bankruptcy Trustee,

District of North Dakota, subject to this Court’s approval under 11 U.S.C. §§ 327 and 328, and

Bankruptcy Rule 2014.



Dated: November 30, 2017                                  LEONARD, O’BRIEN, SPENCER,
                                                          GALE & SAYRE, LTD.


                                                          By /s/ Matthew R. Burton
                                                          Matthew R. Burton (MN #210018)
                                                          100 S 5th St, Suite 2500
                                                          Minneapolis, MN 55402
                                                          Telephone: (612) 332-1030
                                                          Facsimile: (6122) 332-2740
                                                          Email: mburton@losgs.com

                                                          ATTORNEYS FOR TRUSTEE




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                                 UNITED STATES BANKRUPTCY COURT
                                     DISTRICT OF NORTH DAKOTA


In re:
                                                                                             Chapter 7
                Vortex Drain Tiling LLC,                                            Case No. 16-30672

                              Debtor.


                                        CERTIFICATE OF SERVICE



                I, Luann K. Tims, declare, under penalty of perjury, that on November 30, 2017, I filed a

Motion to Appear in a Particular Case Pro Hac Vice with the Clerk of Bankruptcy Court

through ECF, and that ECF will send an e-notice of electronic filing to all parties and counsel of

record.


Dated: November 30, 2017                                           /s/ Luann K. Tims
                                                                   Luann K. Tims
                                                                   100 S. Fifth Street, Suite 2500
                                                                   Minneapolis, MN 55402




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